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                              No. 22-7063
                                In the
               United States Court of Appeals
             for the District of Columbia Circuit

          AMERICAN SOCIETY FOR TESTING AND MATERIALS;
         NATIONAL FIRE PROTECTION ASSOCIATION, INC.; and
          AMERICAN SOCIETY OF HEATING, REFRIGERATING,
             AND AIR-CONDITIONING ENGINEERS, INC.,
                                                     Plaintiffs-Appellants,
                                     v.
                     PUBLIC.RESOURCE.ORG, INC.,
                                                      Defendant-Appellee.


             Appeal from the United States District Court
           for the District of Columbia, Tanya S. Chutkan, J.


     BRIEF OF FORMER GOVERNMENT PUBLISHING OFFICIALS
         RAYMOND A. MOSLEY AND ROBERT C. TAPELLA
     AS AMICI CURIAE IN SUPPORT OF DEFENDANT-APPELLEE


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                                Rev. b854a63e
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

   Pursuant to Circuit Rule 28(a)(1), amici curiae certify as follows.

   (A) Parties and Amici. Except for the following, all parties, intervenors,

and amici appearing before the district court and in this Court are listed in the

Brief for Defendant-Appellee:


      Raymond A. Mosley and Robert C. Tapella


   The amici are former government officials, filing this brief in their personal

capacities. No statement under Federal Rule of Appellate Procedure 26.1 and Cir-

cuit Rule 26.1(a) is required because the amici are not a corporation, association,

joint venture, partnership, syndicate, or other similar entity.

   (B)   Rulings Under Review. References to the rulings at issue appear in

the Brief for Defendant-Appellee.

   (C) Related Cases. To the knowledge of counsel, other than any cases

listed in the Brief for Defendant-Appellee, the case on review was not previously

before this Court or any other court, and there are no other related cases currently

pending in this Court or in any other court.




Dated: December 7, 2022          /s/ Charles Duan
                                 Charles Duan
                                 Counsel for amici curiae


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           CERTIFICATE REGARDING SEPARATE BRIEFING

   Pursuant to Circuit Rule 29(d), counsel certifies that the present separate brief

is necessary because of the specific and distinct interests represented by amici

curiae. As former government officials responsible for promulgation of federal

regulations and other legal texts, amici curiae have unique knowledge, experi-

ence, and perspectives on the role of publication of regulatory material that are

informative to the issues in the present case and that would not be adequately

presented by the parties or other amici. Counsel is unaware of any other amicus

party that would reflect the views expressed in the present brief.




Dated: December 7, 2022          /s/ Charles Duan
                                 Charles Duan
                                 Counsel for amici curiae




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                       INTEREST OF AMICI CURIAE

   Amici curiae¹ are former federal officials, who were responsible for the pub-

lication and promulgation of legal information including the Federal Register.

   Raymond A. Mosley was the Director of the Office of the Federal Register

between 1996 and 2011. He previously worked as a senior manager within the

National Archives and Records Administration. During his tenure as Director,

Mr. Mosley oversaw key technological improvements to the availability of the

Federal Register, including development of the advanced Federal Register 2.0

website.

   Robert C. Tapella was the 25th Public Printer of the United States between

2007 and 2010. Prior to then, he was chief of staff at the Government Printing

Office. As Public Printer, Mr. Tapella was responsible for modernizing the gov-

ernment’s digital publishing, including the launch of the Federal Digital System,

or FDsys, in 2009.




    ¹Pursuant to Federal Rule of Appellate Procedure 29(a), all parties received
appropriate notice of and consented to the filing of this brief. Pursuant to Rule
29(c)(5), no counsel for a party authored this brief in whole or in part, and no
counsel or party made a monetary contribution intended to fund the preparation
or submission of the brief. No person or entity, other than amici, their members,
or their counsel, made a monetary contribution to the preparation or submission
of this brief.

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                          SUMMARY OF ARGUMENT

    Imagine the Federal Register is not free. For-profit corporations are the sole

avenue of access to proposed and final rules, much like how the mandatory tech-

nical standards in the present case are controlled by copyright-holding standards

organizations. Only a privileged few with the right Washington connections or

the funds to pay monopoly prices can bargain to read the publication. Other citi-

zens, researchers, lawyers, and perhaps judges have limited—perhaps no—access

to the federal regulations that govern lives and law.

    This thought of a privately controlled Federal Register is instructive because

it is not hypothetical. It is history. Access to federal regulations, taken for granted

today, was historically limited and surprisingly even opposed. The disputes over

publishing the Federal Register, as anachronistic as they sound now, carry real-

world lessons on commercial control and copyright law in the present case.

    Two episodes from the history of the Federal Register’s publication stand out:

the initial congressional authorization to print the Federal Register, and the shift

to online publication. The lessons are threefold. First, this history demonstrates

a strong, consistent, widespread view that unfettered access to binding law is

of paramount importance. Lawmakers, courts, scholars, librarians, and citizen

advocates have highlighted the government’s duty to promulgate the law, to press

for greater access to regulations through the Federal Register.



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   Second, the historical debates over the Federal Register rebut the purported

need for copyright protection over mandatory technical standards. The Appel-

lant standards organizations contend that copyright-based monopoly control of-

fers necessary private profit incentives. Yet the same incentives-based arguments

have been proffered as reasons against publishing the Federal Register online or

in print. The copyright arguments in this case are no more plausible than the

failed historical arguments against making the Federal Register accessible.

   Third, making the Federal Register more accessible has historically led to

unexpectedly beneficial innovation. Publishing the Federal Register opened the

door to such ideas as regulatory codification, online commenting on regulatory

proposals, and even the Administrative Procedure Act. These and other advances

in legal technology and institutions, made possible by unfettered access to regu-

lations, have enhanced the public’s understanding of government and ability to

participate in the regulatory process.

   The same innovation benefits should be expected here. Ensuring that copy-

right law does not impede full access to mandatory technical standards will

spawn new services, technologies, and ideas that will further the American ex-

periment of democratic self-governance. That a case seemingly about private

intellectual property implicates fundamental public values is perhaps the most

valuable lesson that the history of the Federal Register holds.



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                                   ARGUMENT

I.   Creation of the Federal Register

     Since at least 1798, administrative agencies have been issuing binding rules

with the force of law.² Yet publication of and access to those rules has not been

a foregone conclusion.³ It took almost a century and a half of time, several great

American jurists, and a surprising degree of controversy to bring the Federal

Register into existence.


A.    Leading Jurists Condemn Unpublished Regulations

     At the beginning of 1934, Erwin N. Griswold was a young attorney in the So-

licitor General’s office.⁴ Regularly frustrated with the difficulty of finding regula-

tions he was tasked with analyzing, Griswold helped to spur an executive branch

initiative for regular publication of federal regulations.⁵ The proposed publica-

tion, which he and colleagues titled the “Federal Register,” quickly gained interest




   ²See Nicholas R. Parrillo, A Critical Assessment of the Originalist Case Against
Administrative Regulatory Power: New Evidence from the Federal Tax on Private
Real Estate in the 1790s, 130 Yale L.J. 1288, 1302 (2021) (identifying rulemaking
authority of boards of federal tax commissioners).
   ³See id. at 1306–07 (noting lack of records of rules of the federal boards).
   ⁴See Lotte E. Feinberg, Mr. Justice Brandeis and the Creation of the Federal
Register, 61 Pub. Admin. Rev. 359, 361 (2001).
   ⁵See id. at 363.

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within the administration.⁶ Having accepted a faculty position at Harvard Law

School, though, Griswold could not see the project to completion.⁷

    Griswold would go on to be dean of the law school and Solicitor General of

the United States, but as a newly minted professor, his first order of business

was to publish. In December 1934, his article Government in Ignorance of the

Law appeared in the Harvard Law Review.⁸ Quoting Bentham on the cruelty of

tyrants who “punish men for disobedience to laws or orders which he had kept

them from the knowledge of,” Griswold’s article excoriated the executive branch

for “chaos” in publication of binding administrative rules and executive orders.⁹

Griswold deemed the United States the only “nation of importance” without an

official regulatory gazette, and proposed a “systematic and uniform publication

of the rules and regulations.”¹⁰

    Though not the first to criticize the federal deficiency in regulation publish-

ing,¹¹ Griswold’s article was particularly impactful because of a Supreme Court



    ⁶See id.
    ⁷See Harvard and U.S. Government Swap: University Gets Griswold in Return
for Sayre, Boston Globe, Mar. 29, 1934, at 16.
    ⁸Erwin N. Griswold, Government in Ignorance of the Law—A Plea for Better
Publication of Executive Legislation, 48 Harv. L. Rev. 198 (1934).
    ⁹Id. at 198 (quoting 5 Works of Jeremy Bentham 547 (John Bowring ed., 1843),
https://catalog.hathitrust.org/Record/001383956); id. at 204.
   ¹⁰Id. at 207–08.
   ¹¹See John A. Fairlie, Administrative Legislation, 18 Mich. L. Rev. 181, 199 (1920),
quoted in Griswold, supra note 8, at 204.

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case coincidentally bubbling up at the same time.¹² In Panama Refining Co. v.

Ryan, commonly called the “Hot Oil” case, oil refineries challenged the consti-

tutionality of regulatory quotas on oil production that President Roosevelt had

adopted by executive order.¹³ It was only after the circuit court appeal, however,

that a Justice Department attorney realized that the regulatory provision under

question, section 4 of the Petroleum Code, had been accidentally deleted from

the printed executive order and was not actually in force.¹⁴

   The oral argument was scathing. The Washington Post described how the jus-

tices “virtually catechized” the government’s attorney Harold M. Stephens, who

“spent an apparently embarrassing time” explaining why the United States was

prosecuting—indeed, jailing—oil refiners based on a nonexistent section 4.¹⁵ Jus-

tice Brandeis in particular questioned Stephens on the existence of “any official

or general publication” of executive orders, which Stephens was forced to answer

in the negative.¹⁶ When the Court issued its opinion in the case a month later,



   ¹²The timing may not have been coincidental: Based on review of historical
correspondence, Professor Feinberg finds that Justice Brandeis may have used his
relationship with another Harvard professor, Felix Frankfurter, to indirectly pro-
voke Griswold into writing his article in time for the Supreme Court’s arguments.
See Feinberg, supra note 4, at 364–65.
   ¹³See Pan. Ref. Co. v. Ryan, 293 U.S. 388, 408–11 (1935).
   ¹⁴See Feinberg, supra note 4, at 360.
   ¹⁵Franklyn Waltman, Jr., NRA Orders Are Attacked in High Court, Wash. Post,
Dec. 11, 1934, at 1.
   ¹⁶Id.; see Feinberg, supra note 4, at 360.

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it quickly disposed of all questions based on the “false assumption” that section

4 was in effect; no case or controversy could be present, said the Court, “upon a

provision which did not exist.”¹⁷

     Justice Brandeis’s comments, in conjunction with Professor Griswold’s well-

timed article, created a wave of momentum for government publication of ad-

ministrative regulations.¹⁸ The Federal Register Act was signed into law in July

of 1935, making it “the duty of the Public Printer” to publish a daily journal of

regulations, executive orders, and other promulgated documents.¹⁹


B.   Private Industry Interests Oppose Publication

     Yet that enactment was not free of controversy. Before the first Federal Reg-

ister issue had even appeared in print, Representative John J. Cochran introduced

a bill to repeal the as-yet unimplemented Federal Register Act.²⁰




   ¹⁷Pan. Ref., 293 U.S. at 412.
   ¹⁸See, e.g., Drew Pearson & Robert S. Allen, Justice Brandeis Helps Movement to
Obtain “Official Gazette” of U.S., Daily Wash. Merry-Go-Round, Jan. 1, 1935, at 1,
http://hdl.handle.net/1961/2041-16765; A Mighty Maze, N.Y. Times, Dec. 17, 1934,
at 18; Publication of Governmental Rules and Regulations, H.R. Rep. No. 74-280
(1935).
   ¹⁹See Federal Register Act, ch. 417, secs. 3–4, 49 Stat. 500, 501 (1935).
   ²⁰See H.R. 10932, 74th Cong. (1936), reprinted in To Amend the Federal Register
Act: Hearing on H.R. 10932 & 11337 Before the Subcomm. No. II of the H. Comm. on
the Judiciary, 74th Cong. 1 (Feb. 21, 1936), https://catalog.hathitrust.org/Record/
100666765.

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   Cochran’s objections to the Federal Register are notable because they intro-

duced thematic arguments against public access to the law that would reappear

for years to come. First, he argued that government publication of the regula-

tions was unnecessary because the only potential readers were industry lawyers

and professionals, who could get copies of relevant regulations simply by asking

legislators or agencies for copies.²¹ “[T]he attorneys in St. Louis and the business

houses in St. Louis,” Cochran’s home district, “who are interested in Government

regulations and Executive orders secure them if they need or want them.”²²

   Second, Cochran argued that there were already “probably a dozen private

firms in this country that supply lawyers and accountants throughout the United

States with the regulations just as soon as they are printed.”²³ The government

getting into the business of publishing regulations and thus competing with those

private firms, in Cochran’s view, was “further encroaching upon the rights of

private business.”²⁴

   Based on these two arguments—limited interest in access to regulations and

preserving private publishers’ profits—Cochran declared the Federal Register “a




   ²¹See To Amend the Federal Register Act, supra note 20, at 2.
   ²²See id.
   ²³Id.
   ²⁴Id. at 4.

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costly instrument to be published at the expense of the taxpayers,” and thus “an

absolute waste of Government funds.”²⁵


C.    The Federal Register Sets the Stage for Modern Administra-
      tive Law

     Cochran’s arguments were met with strident opposition from the Federal

Register Act’s proponent, Representative Emanuel Celler, backed by Griswold

and others, who argued that plenty of lawyers and interested citizens “in the far

reaches of the country” lacked the sort of easy access to regulations that Cochran

imagined.²⁶ Even Harold Stevens, now sitting on the D.C. Circuit’s predecessor

court, recounted his “unhappy experience” arguing Panama Refining to support

the need to publish the Federal Register.²⁷ The repeal bill did not pass. Within a

few years, the Federal Register began to sell prolifically and even elicited letters

of thanks from subscribers,²⁸ putting to bed Cochran’s fears that publication of

regulations would be a waste of taxpayer money.

     Yet publishing regulations had benefits beyond what even Brandeis, Griswold,

or Celler imagined. The original Federal Register Act envisioned a simple per-

agency compilation of regulatory documents, but experience with publishing the

   ²⁵Id. at 10, 7.
   ²⁶Id. at 7.
   ²⁷Id. at 14.
   ²⁸See Nat’l Archives, Third Annual Report of the Archivist of the United States
for the Fiscal Year Ending 1937, at 55–56 (1938), https://www.archives.gov/files/
about/history/sources/reports/1937-annual-report.pdf.

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Federal Register made clear that a more organized, systematic arrangement of

regulations was necessary. Just a few years after the Federal Register’s inaugural

issue, the Code of Federal Regulations was born.²⁹

      More significantly, a government publication of final regulations created

space for publication of proposed regulations, giving the public notice of and

opportunity to comment on agency actions. The Federal Register thus laid the

groundwork for the landmark statute of administrative law, the Administrative

Procedure Act.³⁰ Public access to regulatory law through publication of the Fed-

eral Register prompted innovation in the delivery of legal information to Amer-

ican citizens and greater public participation in the democratic process.


II.    Electronic Distribution

      As controversial and beneficial as print publication of the Federal Register

was, that format is not commonly used today. Instead, people can point a com-

puter web browser to a government website such as FederalRegister.gov, where

the entire history of the official publication is available online for free. Yet

easy access to regulatory law, taken for granted today, took decades to come

to fruition.


   ²⁹Act of June 19, 1937, ch. 369, sec. 1(a), 50 Stat. 304, 305.
   ³⁰See Administrative Procedure Act, ch. 324, sec. 4(a), 60 Stat. 237, 239 (1946)
(“General notice of proposed rule making shall be published in the Federal Reg-
ister . . . .”).

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A.    Government Privatization Stymies an Online Federal Regis-
      ter

     As early as 1975, there was interest in computerizing the Federal Register, and

by 1978 the Government Printing Office had fully converted the Federal Register

and Code of Federal Regulations to electronic production processes.³¹ Electronic

production of regulatory material opened up the possibility of electronic distribu-

tion, and as early as 1980 the annual report of the National Archives envisioned

“the creation of an on-line current CFR database for information retrieval.”³²

     Optimism about an online Federal Register, however, ran headlong into con-

trary administration efforts across the 1980s. The Paperwork Reduction Act

of 1980 gave the Office of Management and Budget substantial authority over

“agency information management practices,” including “advice and guidance on

the acquisition and use of automatic data processing” in agencies.³³ Although

the Paperwork Reduction Act envisioned automatic data processing as a tool to



   ³¹See U.S. Gov’t Printing Office, Annual Report of the Public Printer, Fis-
cal Year 1975, at 16 (1976), https://www.govinfo.gov/app/details/GOVPUB-GP-
87aa242a22a1c9d1edc9c77ed2209bc4 (describing future plans for “automation of
the composition of the Federal Register Program”); U.S. Gov’t Printing Office,
Annual Report of the Public Printer, Fiscal Year 1978, at 9–10 (1979), https://www.
govinfo.gov/app/details/GOVPUB-GP-3677bb1bb9a1aadf7e794f482d785082.
   ³²Nat’l Archives & Records Serv., The National Archives & Records Service in
1980, at 12 (1981), https://www.archives.gov/files/about/history/sources/reports/
1980-annual-report.pdf.
   ³³Paperwork Reduction Act of 1980, Pub. L. No. 96-511, sec. 2, § 3504(b)(5),
(g)(3), 94 Stat. 2812, 2815, 2817.

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“improve . . . dissemination of data in the operation of Federal programs,”³⁴ the

Office moved almost immediately to use its newfound powers to curtail dissemi-

nation, formulating Circular A-130 on federal information policy in 1983 and the

following years.³⁵ Consistent with a larger administrative policy of curtailing

government publication of information,³⁶ Circular A-130 directed agencies “to

set strict conditions upon the dissemination function,” including on electronic

publication.³⁷

   Although Circular A-130 did not address the Federal Register specifically, the

policy stopped work on making that publication electronically available. The

Office of the Federal Register was investigating electronic publication through




    ³⁴Id. sec. 2, § 3504(b)(4), 94 Stat. at 2815.
    ³⁵See Development of an OMB Policy Circular on Federal Information Man-
agement, 48 Fed. Reg. 40964 (Office of Mgmt. & Budget Sept. 12, 1983), https://
archives.federalregister.gov/issue_slice/1983/9/12/40963-40968.pdf#page=2.
    ³⁶See Office of Mgmt. & Budget, Report on Eliminations, Consolidations, and
Cost Reductions of Government Publications (1983), https://catalog.hathitrust.org/
Record/011428158.
    ³⁷Management of Federal Information Resources, 50 Fed. Reg. 10734, 10735
(Office of Mgmt. & Budget Mar. 15, 1985) (proposed policy), https://archives.
federalregister.gov/issue_slice/1985/3/15/10708-10747.pdf#page=27; see Manage-
ment of Federal Information Resources, 50 Fed. Reg. 52730, 52748 (Office of Mgmt.
& Budget Dec. 24, 1985) (final policy), https://archives.federalregister.gov/issue_
slice/1985/12/24/52707-52735.pdf#page=8; Advance Notice of Further Policy De-
velopment on Dissemination of Information, 54 Fed. Reg. 214, 216–17 (Office
of Mgmt. & Budget Jan. 4, 1989), https://archives.federalregister.gov/issue_slice/
1989/1/4/212-220.pdf#page=3.

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1985, but the Circular’s policy against electronic dissemination was “part of the

reason for not proceeding with the online version.”³⁸

    The Office of Management and Budget’s primary argument against govern-

ment dissemination of electronic publications was “unfair competition” with the

private sector.³⁹ Electronic publications, it contended, were “value-added prod-

ucts” for the private sector, not the government, to offer.⁴⁰ Furthermore, agen-

cies’ developing software or tools to publish information electronically was “a

source of inefficiency” and potentially “would not be cost-justified” in the Of-

fice’s view.⁴¹ Though it acknowledged “the obligation of the government to in-

form the citizenry,” the Office retorted that reliance on for-profit publishers “does

not translate into diminishing or limiting the flow of information from the agency

to the public.”⁴²




   ³⁸U.S. Gen. Accounting Office, GGD-93-5, Federal Register: Better Electronic
Technology Planning Could Improve Production and Dissemination 32–33 (Nov.
1992), https://www.gao.gov/assets/ggd-93-5.pdf.
   ³⁹54 Fed. Reg. at 219; see also 50 Fed. Reg. at 10735.
   ⁴⁰54 Fed. Reg. at 217; see also 50 Fed. Reg. at 10736 (“[A]gencies should consider
dissemination in electronic form to be service of special benefit . . . .”); 48 Fed. Reg.
at 40964 (“[I]nformation is not a free good but a resource of substantial economic
value . . . .”).
   ⁴¹50 Fed. Reg. at 10735–36.
   ⁴²50 Fed. Reg. at 52732, 52747; see also 54 Fed. Reg. at 215.

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B.   Access Proponents Force a Reversal

     Reaction to these cramped views of agencies’ dissemination obligations was

swift and strong. Hundreds of comments (a large number in pre-email days),

largely from librarians, academics, and members of the public, called the limita-

tions on electronic dissemination “too negative and restrictive”⁴³ and “an assault

on public policy principles concerning the free flow of information.”⁴⁴ A popular

magazine article described how “prices have skyrocketed” for access to priva-

tized government information.⁴⁵ Both the Association of Research Libraries and

the Government Documents Roundtable of the American Library Association de-

nounced privatization of government information as contrary to “the traditional

government information policy of open and equitable access.”⁴⁶

     Even Congress turned on the policies of Circular A-130. A House committee

report from 1986 criticized government restrictions on electronic data access that



   ⁴³50 Fed. Reg. at 52732.
   ⁴⁴Second Advance Notice of Further Policy Development on Dissemination
of Information, 54 Fed. Reg. 25554, 25556 (Office of Mgmt. & Budget June
15, 1989), https://archives.federalregister.gov/issue_slice/1989/6/15/25546-25559.
pdf#page=9.
   ⁴⁵Frances Seghers, Computerizing Uncle Sam’s Data: Oh, How the Public Is Pay-
ing, Bus. Wk., Dec. 15, 1986, at 102, 102.
   ⁴⁶Karlo Mustonen et al., Gov’t Info. Tech. Comm., Am. Library Ass’n, Govern-
ment Information Technology and Information Dissemination: A Discussion Paper,
16 Documents to People 13, 14 (1988); see also Ass’n of Research Libraries, Tech-
nology & U.S. Government Information Policies: Catalysts for New Partnerships, 5
Gov’t Info. Q. 267, 269 (1988).

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created an effective “monopoly over the dissemination of public information.”⁴⁷

Two years later, Congress’s Office of Technology Assessment published an exten-

sive study on “Federal Information Dissemination in an Electronic Age.”⁴⁸ On the

Federal Register in particular, the study found that putting the publication online

“would greatly improve and enhance access,” an important goal given that “[i]t

is unreasonable to expect individuals and organizations to comply with the rules

and regulations and government without timely access to the relevant details.”⁴⁹

   The debate over electronic publication came to a head in early 1989. That

year, the Office of Management and Budget proposed amending Circular A-130,

explicitly requiring agencies to, “absent compelling reasons, avoid disseminating

value-added electronic information products.”⁵⁰ Indeed, the proposed amend-

ment even defined computer-searchable files to be value-added.⁵¹




   ⁴⁷See Electronic Collection and Dissemination of Information by Federal Agencies:
A Policy Overview, H.R. Rep. No. 99-560, at 7 (1986) (quoting Legi-Tech, Inc. v.
Keiper, 766 F.2d 728, 733 (2d Cir. 1985)).
   ⁴⁸See Office of Tech. Assessment, OTA-CIT-396, Informing the Nation: Federal
Information Dissemination in an Electronic Age (Oct. 1988), https://www.govinfo.
gov/app/details/GOVPUB-GP3-7f6155b4e8bf6aa111c7072600f0eb18.
   ⁴⁹See id. at 165 (quoting contractor report).
   ⁵⁰Advance Notice of Further Policy Development on Dissemination of Infor-
mation, 54 Fed. Reg. 214, 219 (Office of Mgmt. & Budget Jan. 4, 1989), https://
archives.federalregister.gov/issue_slice/1989/1/4/212-220.pdf#page=3.
   ⁵¹Id.

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   Overwhelming pressure from public commenters led the Office to reverse

course just six months later.⁵² In a remarkable expression of contrition, the Of-

fice withdrew its prior proposal, agreeing that “government information is a pub-

lic asset” and that “it is the obligation of government to make such information

readily available to the public on equal terms to all citizens.”⁵³ A subsequent

proposed revision to Circular A-130, released in 1992, directed agencies to “use

electronic media and formats . . . to disseminate information products in order to

make government information more easily accessible and useful to the public.”⁵⁴

   Momentum for electronic government dissemination of legal information,

though born out of the Circular A-130 debate, carried far beyond. Beginning in

1990, consumer advocate and library organizations convinced Congress to hold

hearings and then to introduce a bill requiring the Government Printing Office to

publish government information electronically.⁵⁵ The Office itself agreed, antici-

pating a new role for itself as electronic informer of the public in a visionary 1991


   ⁵²See Second Advance Notice of Further Policy Development on Dissemina-
tion of Information, 54 Fed. Reg. 25554, 25554 (Office of Mgmt. & Budget June
15, 1989), https://archives.federalregister.gov/issue_slice/1989/6/15/25546-25559.
pdf#page=9.
   ⁵³See id. at 25557.
   ⁵⁴Management of Federal Information Resources, 57 Fed. Reg. 18296, 18300
(Office of Mgmt. & Budget Apr. 29, 1992), https://archives.federalregister.gov/
issue_slice/1992/4/29/18234-18306.pdf#page=63.
   ⁵⁵See generally James P. Love, A Window on the Politics of the Government Print-
ing Office Electronic Information Access Enhancement Act of 1993, 21 J. Gov’t Info.
3 (1994).

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report.⁵⁶ The resulting legislation, enacted in 1993, mandated online publication

of the Congressional Record and the Federal Register.⁵⁷


C.    An Online Federal Register Prompts New Innovation

     Online Federal Register access naturally helped researchers, libraries, and cit-

izens read the law; it also saved the government substantial paper printing costs.⁵⁸

But the benefits went further. Public access to online regulations created new

opportunities, both public and private, to develop new technologies that would

even further advance public understanding of and participation in the regulatory

process.

     The initial release of the online Federal Register was searchable, for example,

a substantial improvement over the limited indexing of the print version.⁵⁹ By

2001, the Government Printing Office had implemented an email list alert system

to notify interested users of the daily Federal Register table of contents.⁶⁰ A year


   ⁵⁶See U.S. Gov’t Printing Office, GPO/2001: Vision for a New Millennium
19–24, 35–39 (Dec. 1991), https://www.govinfo.gov/app/details/GOVPUB-GP3-
b6524860bff4f2fd24680d7d831fa51e.
   ⁵⁷Government Printing Office Electronic Information Access Enhancement
Act of 1993, Pub. L. No. 103-40, sec. 2(a), § 4101(a)(2), 107 Stat. 112, 112.
   ⁵⁸See U.S. Gov’t Printing Office, Biennial Report to Congress on the Status
of GPO Access 18 (1995), https://www.govinfo.gov/app/details/GOVPUB-GP-
563d429404add2944c76d5c5a16cba8c.
   ⁵⁹Id. at 6.
   ⁶⁰U.S. Gov’t Printing Office, Biennial Report to Congress on the Status of
GPO Access 13 (2001), https://www.govinfo.gov/app/details/GOVPUB-GP-
43435bd07972a52361b20497220f5ecf.

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later, Congress called for creation of an electronic rulemaking program to allow

citizens to file comments online.⁶¹ Electronic access to the Federal Register made

all of these advances possible.

   Online publication also led to a push for standardized data formats, which

would have perhaps the most recognizable recent impact on public access to regu-

lations. Interest in publication of machine-readable regulation data arose as early

as 1995, shortly after the Federal Register went online.⁶² In 2009, the Office of the

Federal Register began publishing the Federal Register in a machine-readable data

format, as part of ongoing open-data efforts within the administration.⁶³ Critics

decried these efforts as wasted expenditures,⁶⁴ but the proof of their value was in

the pudding.⁶⁵



   ⁶¹See E-Government Act of 2002, Pub. L. No. 107-347, sec. 206(c), 116 Stat. 2899,
2916.
   ⁶²U.S. Gov’t Printing Office, supra note 58, at 15.
   ⁶³See Ray Mosley, Federal Register 2.0: Opening a Window onto the Inner Work-
ings of Government, White House Blog (Oct. 5, 2009), https://obamawhitehouse.
archives.gov/blog/2009/10/05/federal-register-20-opening-a-window-inner-
workings-government; Press Release, Gary Somerset, U.S. Gov’t Printing Office,
The White House, National Archives and Government Printing Office Achieve Open
Government Milestone (Oct. 5, 2009), https://www.gpo.gov/docs/default-source/
news-content-pdf-files/2009/09news40.pdf.
   ⁶⁴See, e.g., Alon Peled, Re-Designing Open Data 2.0, 5 E-J. E-Democracy & Open
Gov’t 187, 189–92 (2013), https://jedem.org/index.php/jedem/article/download/
219/180.
   ⁶⁵See also Press Release, National Archives Office of the Federal Register and GPO
Share Open Government Success Story Re: Polar Bears (Jan. 6, 2013), https://www.
archives.gov/press/press-releases/2012-83 (noting addition of an application pro-

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   In 2010, a group of software developers used the Federal Register’s machine-

readable data to create GovPulse, an online tool that simplified browsing and

searching the regulatory publication.⁶⁶ GovPulse won an award in the Sunlight

Foundation’s Apps for America 2 contest.⁶⁷ Just months later, it won a greater

endorsement: The Office of the Federal Register brought GovPulse’s developers

on board to develop a new official website for the publication.⁶⁸ The resulting

Federal Register 2.0 service subsequently won an award from the Administrative

Committee of the United States, as a government service that “streamlines and

enhances public participation in the regulatory process.”⁶⁹ Online publication of

the Federal Register in 1993 thus set the stage for public and private innovation

that ultimately produced the modern, powerful, user-friendly Federal Register

website that millions of Americans depend upon to access regulatory law today.




gramming interface to the Federal Register website, enabling programmers to
build creative tools such as a tracker for regulations affecting polar bears).
   ⁶⁶See generally Luigi Montanez, How Can Software Engineers Help Make Gov-
ernment Better?, XRDS (Ass’n for Computing Mach.), Winter 2011, at 23, 24,
https://dl.acm.org/doi/10.1145/2043236.2043247.
   ⁶⁷See id.; Peter Orszag, The Ingenuity of the American People, Off. Mgmt. &
Budget (Sept. 9, 2009), https://obamawhitehouse.archives.gov/node/14893.
   ⁶⁸See David Ferriero, Federal Register 2.0, White House Blog (July 26, 2010),
https://obamawhitehouse.archives.gov/blog/2010/07/26/federal-register-20.
   ⁶⁹Michael White, FederalRegister.gov Wins Award for Innovation & Best
Practices, Reader Aids (Office of the Fed. Register Dec. 15, 2011), https://
www.federalregister.gov/reader-aids/office-of-the-federal-register-blog/2011/
12/federalregister-gov-wins-award-for-innovation-best-practices.

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III.     History Informs the Disposition of This Case

       History over millennia has taught the importance of public access to bind-

ing law.⁷⁰ Lessons from the publication history of the Federal Register fit neatly

within this context. These lessons are relevant to the present dispute over copy-

rights in binding technical standards incorporated into law, and they ought to

inform this Court’s disposition of the case.⁷¹


A.      Unfettered Access to Binding Law Underpins Democratic
        Self-Governance

       First, publication of the Federal Register highlights the need for citizens to

have complete access to binding law. In the case of print publication, the Panama

Refining case illustrated the basic unfairness of a regulatory agency enforcing

an inaccessible, unverifiable regulation. Scholars, bar associations, and judges

agreed that the government had an obligation to publish the law officially and

   ⁷⁰See Brief of Amici Curiae 66 Library Ass’ns et al. at 2–5, Am. Soc’y for Testing
& Materials v. Pub.Res.Org, 896 F.3d 437 (D.C. Cir. Sept. 25, 2017) (No. 17-7035,
-7039) [hereinafter Brief of Library Assn’s et al.] (discussing Roman law prece-
dents); Am. Soc’y for Testing & Materials, 896 F.3d at 458 (Katsas, J., concurring).
See generally Charles Duan, Copyright in the Texts of the Law: Historical Perspec-
tives, 9 N.Y.U. J. Intell. Prop. & Ent. L. 191, 200–16 (2020), https://jipel.law.nyu.
edu/copyright-in-the-texts-of-the-law-historical-perspectives/.
   ⁷¹There are, of course, important differences. Publishing the Federal Register
required legislation, but that does not mean that opening access to mandatory
technical standards requires legislation as well. The Federal Register required
legislative authorization to appropriate the funds and resources for publishing it;
no such appropriation of resources is needed to make the technical standards at
issue available.

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dependably.⁷² The quick passage of the Federal Register Act thereafter reflected

a widespread consensus that the government had a duty to make binding regu-

latory law available to the public.

    The path to electronic Federal Register publication shows that access to the

law should not be limited to particular means of access. Library associations and

citizen advocacy groups argued that a print-only Federal Register was insufficient

dissemination of the law in a coming age of online information. Government

agencies responsible for publishing regulatory law agreed, both the Office of the

Federal Register and the Government Printing Office. The 1993 legislation to put

the Federal Register online reflected a united sense of Congress that electronic

publication was of fundamental importance to democratic institutions.⁷³ Even

the Office of Management and Budget found itself compelled to agree, in the end,

that “it is the obligation of government” to publish binding regulations “on equal

terms to all citizens,” and to take “full advantage of all dissemination channels”

to do so.⁷⁴



   ⁷²See J.C. Ruddy & B.S. Simmons, The Federal Register—Forum of the Govern-
ment and the People, 32 Geo. L.J. 248, 250–52 (1944).
   ⁷³Government Printing Office Electronic Information Access Enhancement Act of
1993, S. Rep. No. 103-27, at 2 (1993).
   ⁷⁴Second Advance Notice of Further Policy Development on Dissemination
of Information, 54 Fed. Reg. 25554, 25557 (Office of Mgmt. & Budget June
15, 1989), https://archives.federalregister.gov/issue_slice/1989/6/15/25546-25559.
pdf#page=9.

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   Informing the public by “all dissemination channels” contrasts sharply with

the Appellant standards organizations’ cramped proposals for how the public

should access binding standards. They argue (at 9–10) that the public is suffi-

ciently informed of the law by the choice of costly purchase of copyrighted vol-

umes, accessing a feature-limited and possibly privacy-invasive “reading room”

website, or distant travel to an office in Washington, D.C. This argument is no

different from Rep. Cochran’s claim that the Federal Register was unnecessary

because one could obtain copies of regulations by writing a letter to the issu-

ing agency—a claim that the government’s own lawyers disputed.⁷⁵ Limiting

the media in which the law is publicly accessible excludes those of less financial

means, limited political savvy, or different physical abilities from a basic element

of the democratic process.⁷⁶ It is comprehensive, unfettered access to binding

legal texts, not mere “good-enough” publication, that has been the lodestar of

democratic governance throughout history.




   ⁷⁵See To Amend the Federal Register Act, supra note 20, at 15 (statement of
Harold Stephens).
   ⁷⁶See Brief of Amicus Curiae Sina Bahram at 7–10, Am. Soc’y for Testing &
Materials v. Pub.Res.Org, 896 F.3d 437 (D.C. Cir. Sept. 25, 2017) (No. 17-7035, -
7039).

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B.   Private-Incentives Arguments Justifying Copyright Protec-
     tion Equally Justify Not Publishing the Federal Register at
     All

     In opposition to the democratic importance of unrestricted access to binding

regulatory texts are the standards organizations’ purported need for the incentive

value of copyright monopoly protection. The Appellants contend (at 5–6) that

the profits from the sales of technical standards incorporated into law finance the

development of those standards. Unrestricted access to those mandatory stan-

dards, they claim (at 42), would undermine the organizations’ copyright-backed

monopoly control and diminish those profits.

     Putting aside the accuracy of the standards organizations’ logic,⁷⁷ this

copyright-incentives argument is equally an argument against publishing the

Federal Register at all. By the same token, the Office of Management and Bud-

get argued that electronic publication of government information such as the

Federal Register would undermine the profits of private-sector information ser-

vices that, at the time, were charging monopolistic prices for access. So too did

Rep. Cochran contend that government printing of the Federal Register would be




   ⁷⁷See Brief of Library Assn’s et al., supra note 70, at 22–24, quoted in Am. Soc’y
for Testing & Materials, 896 F.3d at 453; see also Charles Duan, Mandatory Infringe-
ment, 75 Fla. L. Rev. (forthcoming 2023) (manuscript at 38–41), https://papers.
ssrn.com/sol3/papers.cfm?abstract_id=4193947 (noting distortion of copyright
incentives resulting from mandatory incorporation of standards).

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“encroaching upon the rights of private business” to profit from sales of federal

regulations.⁷⁸

     With the benefit of hindsight, it is unthinkable today that the United States

should stop making the Federal Register available online or in print, in deference

to the profit interests of private publishers. The public value of unrestricted ac-

cess to binding law has categorically outweighed the private value of monopoly

incentives. The standards organizations’ appeal to copyright incentives should

fare no better.


C.    Access Enables Legal and Technological Innovation That En-
      hances Public Participation in Lawmaking

     The benefits of enhancing public access to regulations have consistently ex-

ceeded expectations. Printing the Federal Register made apparent the need for an

organized uniform codification system across agencies, giving rise to the Code

of Federal Regulations. Print publication also set the stage for publication of and

commenting on proposed rules, opening the door to public participation in the

regulatory process under the Administrative Procedure Act. Online publication

of the Federal Register invited online commenting on proposed regulations, and

set in motion a synergistic cycle of public and private innovation that led to the

advanced Federal Register 2.0 website.


     ⁷⁸To Amend the Federal Register Act, supra note 20, at 4.

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   In the same way, the benefits of unrestricted access to mandatory technical

standards will likely exceed the obvious. Already there are civic technology ef-

forts and public-minded software developers poised to make legal information

like these standards more understandable, accessible, and useful to the public.⁷⁹

Should the standards organizations be able to wield copyrights in mandatory le-

gal texts to cut off public access, the resulting loss will be measured not just in

individual citizens unable to read the law. The loss will be measured in poten-

tial technologies, innovations, and creative solutions that could have enhanced

public engagement with the law and the legal system.

   By limiting the dominance of commercial interests over the texts of regula-

tions, publication of the Federal Register has made American government more

democratic and participatory. Limiting the dominance of copyright monopolies

over mandatory technical standards will similarly improve the public welfare.




   ⁷⁹See Brief of Library Assn’s et al., supra note 70, at 8–10.

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                                 CONCLUSION

   For the foregoing reasons, the decision of the district court should be affirmed.


                                 Respectfully submitted,


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